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                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF WISCONSIN

 JEFFREY GRIMES,

          Plaintiff,                                                     ORDER
    v.
                                                                 Case No. 21-cv-685-jdp
 DANE COUNTY JAIL, et al

          Defendants.


         Plaintiff Jeffrey Grimes has submitted a certified inmate trust fund account statement

for the six month period preceding the complaint in support of the pending motion to proceed

without prepayment of the filing fee. Accordingly, the court must determine whether plaintiff

qualifies for indigent status and, if so, calculate an initial partial payment of the $350.00 fee

for filing this case.

         Even when an inmate litigant qualifies for indigent status, the litigant must pay a

portion of the fee returned by the formula set forth in 28 U.S.C. § 1915(b)(1).             Using

information for the relevant time period from plaintiff’s trust fund account statement, I

calculate plaintiff’s initial partial filing fee to be $179.59. For this case to proceed, plaintiff

must submit this amount on or before December 3, 2021.

         If plaintiff does not have enough money to make the initial partial payment from

plaintiff’s regular account, plaintiff should arrange with prison authorities to pay the remainder

from plaintiff’s release account.
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                                             ORDER

       IT IS ORDERED that,

       1.      Plaintiff Jeffrey Grimes is assessed $179.59 as an initial partial payment of the

$350.00 fee for filing this case. Plaintiff is to submit a check or money order made payable to

the clerk of court in the amount of $179.59 or advise the court in writing why plaintiff is not

able to submit the assessed amount on or before December 3, 2021.

       2.      If, by December 3, 2021, plaintiff fails to make the initial partial payment or

show cause for failure to do so, plaintiff will be held to have withdrawn this action voluntarily

and the case will be closed without prejudice to plaintiff filing this case at a later date.

       3.      No further action will be taken in this case until the clerk’s office receives

plaintiff’s initial partial filing fee as directed above and the court has screened the complaint

as required by the Prison Litigation Reform Act, 28 U.S.C. § 1915A. Once the screening

process is complete, a separate order will issue.




               Entered this 12th day of November, 2021.

                                      BY THE COURT:


                                      /s/z
                                      PETER OPPENEER
                                      Magistrate Judge




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